8:03-cr-00384-LES-TDT   Doc # 58   Filed: 07/28/05   Page 1 of 1 - Page ID # 189

               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:03CR384
                              )
          v.                  )
                              )
COURTNEY NELSON,              )                      ORDER
                              )
               Defendant.     )
______________________________)


           IT IS ORDERED that a hearing on plaintiff’s Rule 35

motion (Filing No. 48) is scheduled for:

                Friday, August 19, 2005, at 10 a.m.

Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska.       Defendant need not be

present.

           DATED this 28th day of July, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
